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                     IN THE UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:                                               CASE NO. 17-64990-wlh

 TOM ALEX THOMPSON, JR. AKA                           CHAPTER: 13
 TOM THOMPSON,
                                                      HONORABLE WENDY L. HAGENAU
               Debtor.

 THE BANK OF NEW YORK MELLON
 TRUST COMPANY, NATIONAL
 ASSOCIATION FKA THE BANK OF NEW
 YORK TRUST COMPANY, N.A. AS
 SUCCESSOR TO THE CHASE
 MANHATTAN BANK, AS INDENTURE
 TRUSTEE FOR RESIDENTIAL FUNDING
 MORTGAGE SECURITIES II, INC., HOME
 LOAN TRUST 2000-HI5, HOME LOAN-
 BACKED NOTES,

               Movant,
 v.

 TOM ALEX THOMPSON, JR. AKA
 TOM THOMPSON, Debtor,
 NANCY J. WHALEY, Trustee,

               Respondents.



           RESPONSE TO DEBTOR’S MOTION TO SELL REAL PROPERTY

       COMES NOW, The Bank of New York Mellon Trust Company, National Association fka

The Bank of New York Trust Company, N.A. as successor to The Chase Manhattan Bank, as

Indenture Trustee for Residential Funding Mortgage Securities II, Inc., Home Loan Trust 2000-

HI5, Home Loan-Backed Notes (“Respondent”), by and through its undersigned counsel, as and
for its Response to Debtor’s Motion to Sell Real Property (“Response”), and in support states as

follows:
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                                I.      STATEMENT OF FACTS

       1.      On August 25, 2000, Tom Alex Thompson, Jr. (“Debtor”) executed a promissory

Note in the principal sum of $35,000.00 (the “Note”). The Note is secured by a Security Deed

executed by Debtor on the real property located at 3110 Clearwater Drive, Douglasville, GA 30135

(the “Property”). The Security Deed reflects that it was duly recorded. Copies of the Note and

Security Deed are collectively attached hereto as Exhibit A.

       2.      On August 28, 2017, the Debtor filed a voluntary petition under Chapter 13 of the

Bankruptcy Code in the United States Bankruptcy Court for the Northern District of Georgia -

Atlanta Division, and was assigned case number 17-64990-wlh.

       3.      On April 13, 2020, the Debtor filed a Motion to Approve Sale of Real Property (the

“Motion”) seeking authorization to sell the Property.

                                        II.     RESPONSE

RESPONDENT DOES NOT OPPOSE THE MOTION TO SELL ON THE CONDITION
THAT THE FOLLOWING PROVISIONS ARE INCLUDED IN THE ORDER:

       Respondent does not oppose the Motion to Sell as long as its Claim being paid off in full

or in accordance with any short sale approved by Respondent as follows:

       1.      Respondent’s Claim shall be paid off in full or in accordance with any short sale

approval authorized by Respondent before satisfying any other subordinate lien on the Property;

       2.      Respondent shall be permitted to submit an updated payoff demand to the

applicable escrow or title company facilitating the sale so that Respondent’s Claim is paid in full

at the time the sale of the Property is finalized. In the event that the sale of the Property does not

take place, Respondent shall retain its Lien for the full amount due under the Subject Loan; and

       3.      To the extent that Debtor disputes any amounts which Respondent claims are owed

on the Subject Loan, that the undisputed amount of Respondent’s Claim be paid at the close of the

sale and for the disputed amount of Respondent’s claim to be segregated in an interest bearing

account with an additional $10,000 in sale proceeds pending further Order of the bankruptcy court
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to allow for Respondent’s potential recovery of any of its reasonable attorney’s fees and costs

incurred to the extent that Respondent successfully establishes its right to the disputed amount due

on its Claim.

       Based on the foregoing, Respondent submits its Response to the Motion to Sell, and

respectfully requests that the above-referenced provisions be included in any Order granting the

Motion to Sell.

                                                       /s/ Radha Gordon
                                                       Radha Gordon, Bar No.: 347192
                                                       Attorney for Movant
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (888) 873-6147
                                                       Email: rgordon@aldridgepite.com
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                                                 Case No. 17-64990-WLH

  TOM ALEX THOMPSON, JR. AKA TOM                         Chapter 13
  THOMPSON,

                 Debtor.


                                CERTIFICATE OF SERVICE

   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter

mentioned, was more than 18 years of age, and that on April 28, 2020, I served a copy of Response

to Motion to Sell Real Property which was filed in this bankruptcy matter on April 28, 2020, in

the manner indicated:

The following parties have been served via e-mail:

 Howard P. Slomka                                  Nancy J. Whaley
 se@myatllaw.com                                   ecf@njwtrustee.com

The following parties have been served via U.S. First Class Mail:

 Tom Alex Thompson, Jr.
 10204 Cavalier Xing
 Lithonia, GA 30038

I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.
                                                       /s/ Radha Gordon
                                                       Radha Gordon, Bar No.: 347192
                                                       Attorney for Movant
                                                       Aldridge Pite, LLP
                                                       Fifteen Piedmont Center
                                                       3575 Piedmont Road, N.E., Suite 500
                                                       Atlanta, GA 30305
                                                       Phone: (404) 994-7400
                                                       Fax: (888) 873-6147
                                                       Email: rgordon@aldridgepite.com
